        Case 4:07-cv-05944-JST Document 5961 Filed 11/19/21 Page 1 of 4



     R. Alexander Saveri (173102)
 1      rick@saveri.com
     Geoffrey C. Rushing (126910)
 2      grushing@saveri.com
     Matthew D. Heaphy (227224)
 3      mheaphy@saveri.com
     Sarah Van Culin (293181)
 4      sarah@saveri.com
     SAVERI & SAVERI, INC.
 5   706 Sansome Street
     San Francisco, California 94111
 6   Telephone: (415) 217-6810
     Facsimile: (415) 217-6813
 7
     Interim Lead Counsel for the
 8   Direct Purchaser Plaintiffs
 9

10                               UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13   IN RE: CATHODE RAY TUBE (CRT)               Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
14   ____________________________________        MDL No. 1917
15   This Document Relates To:                   DIRECT PURCHASER PLAINTIFFS’
                                                 ADMINISTRATIVE MOTION TO
16   ALL DIRECT PURCHASER ACTIONS                CONSIDER WHETHER ANOTHER
                                                 PARTY’S MATERIAL SHOULD BE
17                                               SEALED PURSUANT TO CIVIL LOCAL
                                                 RULES 7-11 AND 79-5(f)
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     DPPS’ ADMIN. MOT. TO CONSIDER WHETHER TO SEAL ANOTHER PARTY’S MATERIAL PURSUANT TO
                            CIVIL L.R. 79-5(f); Master File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 5961 Filed 11/19/21 Page 2 of 4




 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), Direct Purchaser Plaintiffs (“DPPs”) hereby

 2   move the Court to consider whether another party’s material should be sealed.

 3          DPPs have reviewed and complied with this Court’s Standing Order Governing

 4   Administrative Motions to File Materials Under Seal Before District Judge Jon S. Tigar (Nov. 10,

 5   2021) and Civil Local Rule 79-5.

 6          DPPs propose to seal or redact the following documents or portions thereof:

 7

 8    Document Proposed to Be Sealed or Redacted                  Designating Entity
      Gray highlighted portions of DPPs’ Notice of Motion         Documents sealed by prior Order
 9
      and Motion for Class Certification with Respect to the      [ECF No. 3498]
10    Irico Defendants; Memorandum of Points and
      Authorities in Support thereof that contain quotations or
11    information from documents submitted in support of
      DPPs’ Motion for Class Certification with Respect to
12    the Thomson and Mitsubishi Defendants.
13
      Gray highlighted portions of DPPs’ Notice of Motion         All Defendants
14    and Motion for Class Certification with Respect to the
      Irico Defendants; Memorandum of Points and
15    Authorities in Support thereof that contain quotations or
      information from the Expert Report of Dr. Phillip M.
16    Johnson containing information from documents that
17    Defendants have designated “Confidential” or “Highly
      Confidential.”
18
      Gray highlighted portions of DPPs’ Notice of Motion         Chunghwa
19    and Motion for Class Certification with Respect to the
      Irico Defendants; Memorandum of Points and
20    Authorities in Support thereof that contain quotations or
21    information from the Deposition of Jing Song Lu.

22    Exhibit A to the Declaration of R. Alexander Saveri in Chunghwa
      Support of DPPs’ Motion for Class Certification with
23    Respect to the Irico Defendants – Deposition Testimony
      of Jing Song Lu.
24

25    The Expert Report of Dr. Phillip M. Johnson, PhD.           All Defendants

26

27          Civil Local Rule 79-5 governs the filing under seal of documents in civil cases. In

28   compliance with Civil Local Rule 79-5(f), DPPs submit this Administrative Motion because they
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     DPPS’ ADMIN. MOT. TO CONSIDER WHETHER TO SEAL ANOTHER PARTY’S MATERIAL PURSUANT TO
                            CIVIL L.R. 79-5(f); Master File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 5961 Filed 11/19/21 Page 3 of 4




 1   wish to file documents that contain either (a) material designated by a Defendant pursuant to a

 2   Protective Order as “Confidential” or “Highly Confidential”; or (b) analysis of, references to, or

 3   information taken directly from material designated by a Defendant pursuant to a Protective Order

 4   as “Confidential” or “Highly Confidential.”

 5           DPPs seek to file the above material under seal in good faith in order to comply with the

 6   Protective Order in this action and the applicable Local Rules. Because certain defendants and

 7   various third parties contend that the material they have designated is confidential in nature, it is

 8   their burden to establish that the designated information is sealable. Civil L.R. 79-5(c) & (f); see

 9   Kamakana v. City of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006). DPPs leave it to this

10   Court’s discretion to determine whether the above material should be filed under seal. Courts have

11   repeatedly emphasized that a party must make a “particularized showing of good cause” and show

12   a “compelling reason” to justify the sealing of motions and papers filed with a court. See Foltz v.

13   State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1138 (9th Cir. 2002) (reversing the lower court’s

14   sealing of records because there was no “compelling reason to justify sealing” under the protective

15   order). As the Ninth Circuit has stated, the “hazard of stipulated protective orders” is that they

16   “often contain provisions that purport to put the entire litigation under lock and key without regard

17   to the actual requirements of Rule 26(c).” Kamakana, 447 F.3d at 1193. Plaintiffs note that two

18   expert reports containing extensive discussion of the documentary evidence in this case as well as

19   statistical analysis of Defendants’ data have been publicly filed in this action. ECF No. 5191-2, Ex.

20   A, D.

21           WHEREFORE, Direct Purchaser Plaintiffs respectfully submit this administrative motion

22   pursuant to the Protective Order and Civil Local Rule 79-5(f) and hereby notify the parties of their

23   burden to establish that the designated material is sealable.

24
     DATED: November 19, 2021                       Respectfully Submitted,
25

26                                                  /s/ R. Alexander Saveri
                                                    R. Alexander Saveri
27                                                  Geoffrey C. Rushing
                                                    Matthew D. Heaphy
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                                                        2
     DPPS’ ADMIN. MOT. TO CONSIDER WHETHER TO SEAL ANOTHER PARTY’S MATERIAL PURSUANT TO
                            CIVIL L.R. 79-5(f); Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 5961 Filed 11/19/21 Page 4 of 4




                                         Sarah Van Culin
 1                                       SAVERI & SAVERI, INC.
 2                                       706 Sansome Street
                                         San Francisco, CA 94111
 3                                       Telephone: (415) 217-6810
                                         Facsimile:    (415) 217-6813
 4
                                         Interim Lead Counsel for the
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     DPPS’ ADMIN. MOT. TO CONSIDER WHETHER TO SEAL ANOTHER PARTY’S MATERIAL PURSUANT TO
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